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     1   LAWRENCE P. GRASSINI — Cal. SBN 49046
         LARS C. JOHNSON — Cal. SBN 205712
     2   MARSHALL J. SHEPARDSON — Cal. SBN 263637
         GRASSINI, WRINKLE & JOHNSON
     3   20750 Ventura Boulevard, Suite 221
         Woodland Hills, CA 91364-6235
     4   Tel: (818) 348-1717
         Fax: (818) 348-7921
     5   Email: mail@grassinilaw.com
     6   Attorneys for Plaintiff
     7

     8                        UNITED STATES DISTRICT COURT
     9                     SOUTHERN DISTRICT OF CALIFORNIA
    10

    11   DOMINIC FONTALVO, a minor, by
         and through his Guardian Ad Litem,
    12   TASHINA AMADOR, individually
         and as successor in interest to Alexis
    13   Fontalvo, deceased, and
         TANIKA LONG, a minor, by and              Case No.: 3:13-cv-00331-GPC-KSC
    14   through her Guardian Ad Litem,
         TASHINA AMADOR,
    15                                             Judge: Hon. Gonzalo P. Curiel
    16                      Plaintiff,
    17         vs.                                 DECLARATION OF MARSHALL J.
                                                   SHEPARDSON IN OPPOSITION
    18                                             TO SIKORSKY’S MOTION FOR
         SIKORSKY AIRCRAFT                         SUMMARY JUDGMENT
    19   CORPORATION;
         SIKORSKY SUPPORT SERVICES,
    20   INC.; UNITED TECHNOLOGIES
         CORPORATION;
    21   G.E. AVIATION SYSTEMS, LLC;
         DUPONT AEROSPACE CO.;
    22   E.I. DUPONT DE NEMOURS AND
         COMPANY;
    23   PKL SERVICES, INC.; and
         DOES 1 through 100, Inclusive,
    24
                      Defendants.
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               Pursuant to 28 U.S.C. § 1746, I, Marshall J. Shepardson, declare:
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          DECLARATION                                      CASE NO. 3:13-CV-00331-GPC-KSC
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   1            1.    I am an attorney at law duly licensed and admitted to practice before
   2    the courts of the State of California and the U.S. District Court for the Southern
   3    District of California. I an associate of the law firm Grassini, Wrinkle & Johnson,
   4    attorneys of record for the plaintiffs in this action.
   5            2.    I submit this Declaration in opposition to the Motion of defendants
   6    Sikorsky Aircraft Corporation, Sikorsky Support Services, Inc., and United
   7    Technologies Corporation (collectively, “Sikorsky”) for Summary Judgment.
   8            3.    The following exhibits are filed herewith, except that they shall be
   9    filed conditionally under seal where indicated:
  10            Exhibit A is a true and correct copy of the Safety Investigation Report
  11    authored by the Air Mishap Board, as redacted by counsel for the U.S. Department
  12    of the Navy for production in this action. [MIL073479–073563.] To be filed under
  13    seal.
  14            Exhibit B is a true and correct copy of excerpts of the transcript of the
  15    depositions of Sikorsky 30(b)(6) witness and retained expert John Wakefield.
  16            Exhibit C is a true and correct copy of the Preliminary Detail Specification
  17    SD-552-3 produced by Sikorsky in this action. [SIK014944–SIK015102.] To be
  18    filed under seal.
  19            Exhibit D is a true and correct copy of excerpts of the transcript of the
  20    depositions of Sikorsky retained expert James Knox.
  21            Exhibit E is a true and correct copy of a photographic depiction of the
  22    hydraulic utility manifold of the CH-53E produced by Sikorsky in this action.
  23    [SIK008317.] To be filed under seal.
  24            Exhibit F is a true and correct copy of the Expert Report of John Bloomfield
  25    in relation to this action.
  26            Exhibit G is a true and correct copy of the Expert Report of Lee Coffman in
  27    relation to this action.
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   1           Exhibit H is a true and correct copy of Enclosure 40 to the Command
   2    Investigation Report relevant to this action.
   3           Exhibit I is a true and correct copy of the set of photographs titled “HMH-361
   4    BARE WIRE PHOTOS” produced by the U.S. Navy in this action. [MIL072889–
   5    072894.] To be filed under seal.
   6           Exhibit J is a true and correct copy of a set of microscopic photographs of
   7    Spec-55 wire leading to P494, taken at a forensic inspection in connection with this
   8    action.
   9           Exhibit K is a true and correct copy of excerpts of the transcript of the
  10    deposition of Manning Stelzer.
  11           Exhibit L is a true and correct copy of excerpts of the transcript of the
  12    deposition of Staff Sergeant Megan Stone, U.S.M.C.
  13           Exhibit M is a true and correct copy of the Expert Report of Joseph Reynolds
  14    in relation to this action. To be filed under seal.
  15           Exhibit N is a true and correct copy of the Expert Report of James Knox in
  16    relation to this action.
  17           Exhibit O is a true and correct copy of excerpts of the transcript of the
  18    deposition of Captain Micah Hamilton, U.S.M.C.
  19           Exhibit P is a true and correct copy of excerpts of the transcript of the
  20    deposition of former U.S.M.C. Lance Corporal Charles Coffin.
  21           Exhibit Q is a true and correct copy of excerpts of the transcript of the
  22    deposition of former U.S.M.C. Sergeant Christopher Danley.
  23           Exhibit R is a true and correct copy of excerpts of the transcript of the
  24    deposition of former U.S.M.C. Sergeant and crew chief, Evan Reid Shelton.
  25           Exhibit S is a true and correct copy of an excerpt of the deposition of Captain
  26    Justin Brown, U.S.M.C.
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   1           Exhibit T is a true and correct copy of excerpts of the transcript of the
   2    deposition of Sergeant Joshua Perkins, U.S.M.C.
   3           Exhibit U is a true and correct copy of the Technical Manual on Landing Gear
   4    Systems for the CH-53E helicopter, produced by the U.S. Navy in connection with
   5    this action [MIL100961–101055]. To be filed under seal.
   6           Exhibit V is a true and correct copy of excerpts of the transcript of the
   7    deposition of Leslie Leigh.
   8           Exhibit W is a true and correct copy of NAVAIR’s EI Final Report dated
   9    September 29, 2011, produced by the U.S. Navy in connection with this action
  10    [MIL006494–6496]. To be filed under seal.
  11           Exhibit X is a true and correct copy of excerpts of the transcript of the
  12    deposition of John Bloomfield.
  13           Exhibit Y is a true and correct copy of excerpts of the transcript of the
  14    deposition of Tashina Amador.
  15           Exhibit Z is z true and correct copy of the General Specification for Design
  16    and Construction of Aircraft Weapon Systems. To be filed under seal.
  17           Exhibit AA is a true and correct copy of the Publications Proposal for ECP
  18    2162C1 produced by Sikorsky in connection with this action [SIK021989–22041].
  19    To be filed under seal.
  20           Exhibit BB is a true and correct copy of the September 22, 2014, Declaration
  21    of Tashina Amador.
  22           Exhibit CC is a true and correct copy of the Expert Report of David Fractor
  23    in relation to this action.
  24           Exhibit DD is a true and correct copy of excerpts of the transcript of the
  25    deposition of David Fractor.
  26           Exhibit EE is a true and correct copy of the decedent’s Itemized Statement of
  27    Earnings form the Social Security Administration.
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   1          Exhibit FF is a true and correct copy of Tashina Peshlakai’s 2010 Federal Tax
   2    Return Filing Instructions summary page.
   3          Exhibit GG is a true and correct copy of the Expert Report of Col. William
   4    Lawrence in relation to this action.
   5          Exhibit HH is a true and correct copy of the May 27, 2013, Declaration of
   6    Arthur “Lee” Coffman.
   7          Exhibit II is a true and correct copy of excerpts of the transcript of the
   8    deposition of Robert Jordan, FRCP 30(b)(6) representative of the U.S. Government.
   9          I DECLARE UNDER PENALTY OF PERJURY THAT THE
  10    FOREGOING IS TRUE AND CORRECT.
  11          Executed on July 6, 2017, at Los Angeles, California.
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                                        /s/ Marshall J. Shepardson, Esq.
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                                        Attorney for Plaintiff
                                        E:Mail: mshepardson@grassinilaw.com
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